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 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                                     CASE NO. 11CR4115-H
12                                           Plaintiff,             JUDGMENT AND ORDER OF
              vs.                                                   DISMISSAL OF INFORMATION
13
      JOSE ABEL CARO, JR. (2)
14
                                          Defendant.
15
16          Upon motion of the UNITED STATES OF AMERICA and good cause appearing, the
17   Information in the above entitled case is dismissed with prejudice, the bond is exonerated and, if held
18   by U.S. Pretrial Services, Defendant’s passport is to be released to Defendant.
19          IT IS SO ORDERED.
20          Dated: 9/5/12.
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22                                                              ____________________________________
                                                                HONORABLE BARBARA L. MAJOR
23                                                              United States Magistrate Judge
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